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                                       No。 19‐ 1642C


                                  (Filed:Novcmber 8,2019)

                                  NOT FOR PUBLICATION

PII〕   STON DoCORNELIUS,
                      PlaintifQ
                                                    Pro Se Complaint; Sua Sponte
V.                                                  Dismissal for Lack of Subject Matter
                                                    Jurisdiction, RCFC 12(hX3).
THE UNITED STATES,
                      Defendant.



                                          ORDER

      On October 21,2019, plaintiff Preston D. Cornelius, a prisoner incarcerated at the
Dooley State Prison in Unadilla, Georgia, filed a complaint, ECF No. 1, and a motion to
proceed in forma pauperis in this matter, ECF No. 2. For the following reasons, the court
DISMISSES plaintiff s complaint for lack of subject matter jurisdiction.

I.      Background

        In his complaint, plaintiff states that the basis of this court's jurisdiction is his
claim for "[d]amages for unjust conviction and imprisonment" from the United States
government. See ECF No. I at 1. Plaintiff alleges that on June 15,2011, he was "taken
into custody by the Atlanta Fugitive squad on an outstanding warrants from an incident
alleged from August 9, 1987." Id. at2. Beyond that statement, neither the complaint nor
its attachments provide any detail about the challenged conduct, but they do include legal
commentary seeming to connect his allegedly improper arrest to a considerable range of
topics. See generally id. (discussing topics including, inter alia, the court's jurisdiction,
statute of limitations, laches, adverse possession, estoppel, habeas co{pus, writ of error
coram nobis, accord and satisfaction, negligence, duress, and fraud). Plaintiff explains
the relief he seeks as follows: "Expungement of records and unconditional discharge
sentence as to any current sentences now serving. Pursuant with expungement remedy.
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Reentry right of recover ofjudgment in the amount ten million dollars action at law for
release personal in personam jurisdiction." See ECF No. 1 at 5.

       Leeal Standards

       A.     Pro Se Litigants

       The court acknowledges that pro se plaintiffs are not expected to frame issues with
the precision of a common law pleading. Roche v. USPS,828F.2d 1555, 1558 (Fed. Cir.
 1987). The court further acknowledges that pro se plaintiffs are entitled to a liberal
construction of their pleadings. See Haines v. Kemer, 404 U.S. 519,520 (1972)
(requiring that allegations contained in a pro se complaint be held to "less stringent
standards than formal pleadings drafted by lawyers"). Accordingly, the court has
examined the complaint thoroughly to ascertain whether, given the most favorable
reading, it supports jurisdiction in this court.

       B.     Jurisdiction

        This court is one of limited jurisdiction. Specifically, the Tucker Act grants the
court the authority to consider, "any claim against the United States founded either upon
the Constitution, or any Act of Congress or any regulation of an executive department, or
upon any express or implied contract with the United States, or for liquidated or
unliquidated damages in cases not sounding in tort." 28 U.S.C. $ 1491(a)(1) (2012).

       The court also has jurisdiction pursuant to 28 U.S.C. $ 1495 (2012), which
provides that: "The United States Court of Federal Claims shall have jurisdiction to
render judgment upon any claim for damages by any person unjustly convicted of an
offense against the United States and imprisoned." In order to invoke jurisdiction under
28 U.S.C. $ 1495, however, plaintiff must first satisff the requirements of 28 U.S.C. $
2513(a). See Abu-Shawish v. United States, 120 Fed. CL.812,813 (2015) (citations
omitted). Section 2531(a) states:

       (a)    Any person suing under section 1495 of this title must allege       and
       prove that:

              (1)     His conviction has been reversed or set aside on the ground that
              he is not guilty of the offense of which he was convicted, or on new
              trial or rehearing he was found not guilty of such offense, as appears
              from the record or certificate of the court setting aside or reversing
              such conviction, or that he has been pardoned upon the stated ground
              of innocence and unjust conviction and




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              (2)    He did not commit any of the acts charged or his acts, deeds,
              or omissions in connection with such charge constituted no offense
              against the United States, or any State, Territory or the District of
              Columbia, and he did not by misconduct or neglect cause or bring
              about his own Prosecution.

"Therefore, in order for this court to have jurisdiction, a plaintiff must obtain a certificate
of innocence from the district court which states that not only was he not guilty of the crime
of conviction, but also that none of his acts related to the charged crime were other crimes."
Abu-Shawish, 120 Fed. Cl. at 813.

       If, at any point, the court finds that it lacks jurisdiction over a particular case, that
case must be dismissed. See Rule 12(h)(3), Rules of the United States Court of Federal
Claims (RCFC). The court may properly conduct this analysis on its own. See Folden v.
United States ,379 F .3d 1344,1354 (Fed . Cir. 2004) ("Subject matter jurisdiction may be
challenged at any time by the parties or by the court sua sponte.").

III.   Analysis

       A.      Lack of Subject Matter Jurisdiction

        The claims presented in plaintiff s complaint are, by their nature, related to his
arrest and imprisonment. The statement of his requested relief indicates that he seeks
money damages as compensation for his allegedly improper arrest and imprisonment, as
well as release from prion. See ECF No. 1 at 5. Although plaintiff lists myriad legal
concepts in his filings, when read as a whole, it is clear that the gravamen of his
compiaint is related to criminal process. The court, therefore, addresses plaintiff s
ro-pluint on these terms. See. e.g., Katz v. Cisneros, 16 F.3d 1204,1207 (Fed. Cir.
 lgg4) ("Regardless of the charccterization of the case ascribed by [the plaintiffl in its
 complaint, we look to the true nature of the action in determining the existence or not of
jurisdiction.") (citing Livingston v. Derwinski ,959 F .2d 224,225 (Fed. Cir. 1992)).

        This court has no jurisdiction over criminal maffers, and thus does not have the
authority to consider plaintiff s complaint. E.g., Joshua v. United States, 17 F .3d 378,
379 (Fed. Cir. 1994). It follows, then, that a request for release from prison is not within
this court's jurisdiction. Woodson v. United States, 89 Fed. Cl. 640,651 (2009) (citing
Bowen v. Massachusetts, 487 U.S. 879, 905 (1988)). As for plaintiff s monetary claim,
there is no allegation in the complaint that his claim is founded on a court-issued
certificate of innocence so that this court would have jurisdiction over his claim. Because
this prerequisite is absent here, plaintiff s unjust imprisonment claim must be dismissed
by the court for lack of subject matter jurisdiction. Abu-Shawish, 120 Fed. Cl. at 813-
 t4.
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        Moreover, the complaint identifies "Aimee Smith, Warden . . ." as a defendant in
this case. ECF No.   l.   This court's jurisdiction is limited to "claim[s] against the United
 States . . . ." 28 U.S.C. $ la9l(a)(l). This court has no authority to hear claims or render
judgment against parties other than the United States. See United States v. Sherwood,
 312 U.S. 584, 588 (1941) (holding that this court's subject matter jurisdiction "is
 confined to the rendition of money judgments against the United States, and if the relief
 sought is against others than the United States the suit as to them must be ignored as
beyond the jurisdiction of the court") (citations omitted). For this additional reason,
plaintiff s claims are outside the subject matter jurisdiction of this court.

       B.     Transfer

       Because plaintiff s complaint is not within this court's jurisdiction, the court
considers whether transfer to another federal court is appropriate. Transfer of cases from
this court to a district court is governed by 28 U.S.C. $ 163 | (2012), which states in
relevant part, as follows:

       Whenever a civil action is filed in fthis] court . . . and [this] court finds that
       there is a want ofjurisdiction, the court shall, if it is in the interest ofjustice,
       transfer such action or appeal to any other such court . . . in which the action
       or appeal could have been brought at the time it was filed or noticed, and the
       action or appeal shall proceed as if it had been filed in or noticed for the court
       to which it is transferred on the date upon which it was actually filed in or
       noticed for the court from which it is transferred.

Id. Here, plaintiff s complaint includes so few factual allegations that the court is unable
to determine either whether transfer would serve the interests ofjustice in this case, or to
which court a transfer would be made. As such. the court concludes that transfer is not
warranted.

V.     Conclusion

       There is no jurisdiction in this court for plaintiff s claims, and his complaint must,
therefore, be dismissed. Accordingly, plaintiff s application to proceed in forma
p.auperis, ECF No. 2, is GRANTED for the limited pu{pose of determining this court's
jurisdiction. The clerk's office is directed to ENTER judgment for defendant
DISMISSING plaintiff s complaint for lack of subject matter jurisdiction, without
prejudice, pursuant to RCFC 12(hX3). Additionally, the clerk's office is directed to
REJECT any future f,rlings not in compliance with this court's rules from plaintiff.
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ITIS S0 0RDERED.




                             ATRICIA E.CAⅣ [PB
                            Judge
